       Case 1:21-cv-00119-RDM            Document 61        Filed 01/04/22      Page 1 of 7




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 CENTER FOR BIOLOGICAL DIVERSITY,
 et al.,

        Plaintiffs,

        v.                                        CASE NO. 1:21-cv-00119 (RDM)

 U.S. ENVIRONMENTAL PROTECTION
 AGENCY, et al.,

        Defendants.


   PLAINTIFFS’ MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT

       In this case arising out of the U.S. Environmental Protection Agency’s (“EPA”) decision

to approve an application by the state of Florida to assume jurisdiction over dredge and fill

permitting under the Clean Water Act, Plaintiffs respectfully seek leave to file the attached First

Amended Complaint. The First Amended Complaint would add claims against EPA that were

noticed pursuant to the Endangered Species Act’s (“ESA”) citizen suit provision as well as an

additional claim against the U.S. Fish and Wildlife Service (“USFWS”) regarding the agency’s

ultra vires action in support of the state’s application. The proposed amendment is timely and

will not prejudice Defendants or Intervenors.

                                      LEGAL STANDARD

       Federal Rule of Civil Procedure 15 allows a party to amend its pleading before trial with

leave of the court or with the written consent of opposing counsel. Fed. R. Civ. P. 15(a)(2). The

Rule provides that “[t]he court should freely give leave when justice so requires.” Id. Accord

Foman v. Davis, 371 U.S. 178 (1962). Because Rule 15(a) instructs that leave to amend should

be “freely” given, the standard is liberal. Leave should be granted if there is no reason to deny it,

“such as undue delay, bad faith or dilatory motive on the part of the movant, repeated failure to
                                                 1
       Case 1:21-cv-00119-RDM           Document 61        Filed 01/04/22      Page 2 of 7




cure deficiencies by amendments previously allowed, undue prejudice to the opposing party by

virtue of allowance of the amendment, [or] futility of amendment.” Foman, 371 U.S. at 182. In

the absence of such reasons, denial of leave to amend may be an abuse of discretion. See

Barkley v. U.S. Marshals Serv. ex rel. Hylton, 766 F.3d 25, 38 (D.C. Cir. 2014).

                                        BACKGROUND

       Plaintiffs filed their original Complaint on January 14, 2021, challenging EPA’s decision

to transfer to Florida authority over the Clean Water Act’s Section 404 permitting program,

USFWS’ decision to issue an insufficient and unlawful programmatic biological opinion and

incidental take statement in support of EPA’s decision, and the U.S. Army Corps of Engineers’

(“Corps”) unlawful determination of the list of waters the agency would retain jurisdiction over

under the River and Harbor Act. Dkt. 1. 1 Neither Defendants nor Intervenors have filed an

answer to the original Complaint. Nor has the Court entered a scheduling order in this case.

       On January 29, 2021, in accordance with the Court’s Standing Order, Dkt. 3 at 4

(Standing Order at ¶ 10.a), Plaintiffs requested a pre-motion conference in anticipation of filing a

motion for partial summary judgment. Dkt. 21. On February 5, 2021, Defendants and

Intervenors responded. Dkt. 22, 23.

       The Court held a pre-motion conference on February 17, 2021. At the hearing, the Court

set a schedule for production of an initial administrative record for purposes of the partial motion

for summary judgment. The Court also set a briefing schedule for Plaintiffs’ motion for partial

summary judgment. And the Court stayed the deadline for Defendants and Intervenors to file an




1
 The state of Florida moved to intervene on January 19, 2021, and the Court granted
intervention on February 1, 2021. Minute Entry (Feb. 1, 2021).

                                                 2
          Case 1:21-cv-00119-RDM           Document 61        Filed 01/04/22      Page 3 of 7




answer or other responsive pleadings and stayed the time for filing the entire administrative

record.

          On March 5, 2021, Plaintiffs moved for partial summary judgment on the procedural

violations alleged in Claims Eight and Nine of the original Complaint. Dkt. 31. Defendants

filed a cross-motion for summary judgment and opposition to the motion for partial summary

judgment on April 26, 2021. Dkt. 34–35. Intervenors filed a cross-motion to dismiss and

opposition to the motion for summary judgment the same day. Dkt. 36–37. On May 24, 2021,

Plaintiffs filed a response to the cross-motions and a reply in support of their motion for partial

summary judgment. Dkt. 43–44. Defendants and Intervenors replied on June 7, 2021. Dkt. 45–

46. Briefing on these dispositive motions ostensibly closed on June 7, 2021. 2

          On October 28, 2021, Plaintiffs filed a notice of supplemental authority in support of

their motion for partial summary judgment regarding the vacatur of the Trump-era Navigable

Waters Protection Rule, the announcement by the Corps and EPA that they have stopped

applying that rule, and the state of Florida’s continued application of the vacated Trump rule.

Dkt. 59. Intervenors responded on November 4, 2021. Dkt. 60.

          The Parties agree that the claims and allegations at issue in the motion for partial

summary judgment as well as Defendants’ cross-motion for summary judgment and Intervenor’s

cross-motion to dismiss have not changed and can be directed to the First Amended Complaint.

To conserve judicial resources, the Parties request that the Court direct those motions to the First

Amended Complaint without requiring that the parties relitigate those issues.




2
 Plaintiffs requested the opportunity to file a sur-reply on June 11, 2021, Dkt. 47, but the Court
has not ruled on that request.
                                                    3
        Case 1:21-cv-00119-RDM          Document 61        Filed 01/04/22      Page 4 of 7




        On March 31, 2021, Plaintiffs provided EPA with the required notice of intent (“NOI”) to

sue for related claims alleging that EPA violated the ESA when approving the state 404 program.

Exhibit 3; 16 U.S.C. §§ 1535, 1538, 1540(g)(2)(A)(i). The sixty-day period lapsed on May 30,

2021.

        Plaintiffs now seek to amend the original Complaint to add (1) the allegations against

EPA contained in the NOI and (2) an additional basis for challenging the unlawful technical

assistance scheme that USFWS created in its memorandum of understanding with Florida, the

programmatic biological opinion, and the incidental take statement. Exhibit 1. 3 Aside from

adding these claims, the First Amended Complaint is virtually the same as the original

Complaint. See Exhibit 2. 4

                                          ARGUMENT

        Plaintiffs seek to amend their original Complaint to allege claims against EPA that were

noticed in the NOI as well as an additional claim regarding USFWS’ unlawful technical

assistance scheme. In all relevant respects, these violations arise from the same facts and legal

issues identified in Plaintiff’s original Complaint. See Dkt. 1 at 35–42, 44–45 (Complaint

¶¶ 162–201, 213–21). The case continues to allege that three agency actions violated provisions

of the Clean Water Act, ESA, Rivers and Harbors Act, and Administrative Procedure Act under

the same facts and circumstances when: (1) EPA approved Florida’s assumption of the Clean




3
  An original copy of the proposed First Amended Complaint is attached as Exhibit 1 in
accordance with LCvR 7(i) and LCvR 15.1.
4
  A redlined version of the First Amended Complaint is attached as Exhibit 2 in accordance with
the Court’s Standing Order. Dkt. 3 at 3 (Standing Order at ¶ 7). Aside from the additional
claims and prayers for relief, the Amended Complaint replaces Defendants based on
appointments and confirmations that have occurred since Plaintiffs filed their original Complaint
and corrects the number of species listed as likely to be adversely affected by EPA’s action.
Exhibit 2 at 12, 36 (Amended Complaint at ¶¶ 58, 65, 67, 70–71, 168).
                                                 4
       Case 1:21-cv-00119-RDM           Document 61        Filed 01/04/22      Page 5 of 7




Water Act’s Section 404 permitting program; (2) USFWS issued and EPA relied on a

programmatic biological opinion pursuant to the ESA regarding that assumption; and (3) the

Corps created the list of waters retained under the Rivers and Harbors Act.

       There has been no undue delay or bad faith as the filing of the NOI was a prerequisite to

Plaintiffs being able to bring the ESA-related claims against EPA. Now that the sixty-days have

lapsed, Plaintiffs are able to bring those additional claims against EPA. 5 Further, because the

case is effectively stayed while the Court considers the pending motion for partial summary

judgment and cross-motions, amendment does not create any delay.

       There is no prejudice to EPA, as the new claims being brought against EPA mirror those

being brought against USFWS from the original Complaint, and EPA was on notice of these

claims through the NOI. Nor does amendment prejudice USFWS because the new claim is

substantially the same as Claim Six, and USFWS was on notice about this legal violation through

the original Complaint.

                                         CONCLUSION

       For the reasons stated above, Plaintiffs respectfully request leave to amend the

Complaint. Federal Defendants and Plaintiffs also agree that the claims and allegations at issue

in the motion for partial summary judgment as well as Defendants’ cross-motion for summary

judgment and Intervenor’s cross-motion to dismiss have not changed and can be directed to the

First Amended Complaint. To conserve judicial resources, we request that the Court direct those

motions to the First Amended Complaint without requiring that the parties relitigate those issues.




5
 Plaintiffs were also awaiting a decision on the pending motion for partial summary judgment
but are moving to amend now to ensure they act in a timely manner.
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       Case 1:21-cv-00119-RDM           Document 61       Filed 01/04/22      Page 6 of 7




       In accordance with LCvR 7(m), Plaintiffs’ counsel conferred with opposing counsel in a

good faith effort to determine whether there is opposition to the motion and were not able to

come to an agreement regarding the motion. Federal Defendants have consented to this motion,

and Florida opposes.

Dated: January 4, 2022
                                                    Respectfully submitted,

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                                                6
      Case 1:21-cv-00119-RDM           Document 61        Filed 01/04/22      Page 7 of 7




                               CERTIFICATE OF SERVICE

      I hereby certify that on this 4th day of January 2022, I electronically filed the foregoing

document using the CM/ECF system. Service was accomplished by the CM/ECF system.



                                                    Respectfully submitted,

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